                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                      :
                                               :
v.                                             :   Case No. 3:05-CR-400-FDW
                                               :
MICHAEL KEARNS (12)                            :

                                         ORDER

       A motion has been duly brought before this Court for an order to deposit proceeds

representing partial restitution by defendant MICHAEL KEARNS.              These proceeds

represent money illegally obtained from victims by defendant Kearns and his co-

conspirators through a sweepstakes fraud originating out of Costa Rica. The Court having

considered the same, the Court finds that the proceeds ought to be deposited with the

Court Registry in an interest-bearing account.

       It is, therefore, ORDERED, ADJUDGED AND DECREED that:

       1.     The proceeds in this case, in the form of a check in excess of $435,000,

issued by the attorneys for defendant MICHAEL KEARNS, will be deposited with the Clerk

of Court in an interest-bearing account.

       2.     Upon receipt of the funds, the Clerk of the Court, as soon as the business of

his office allows, will place the said funds in an interest-bearing account at the prevailing

rate of interest. In return, the Clerk is to receive an indicia of ownership of a money market

account payable to:

       United States District Court
       for the Western District of North Carolina
       Clerk of Court, Trustee
       Case No. 3:05-CR-400-FDW




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The initial investment and any interest earned thereon will be subject to the collateral

provisions of Treasury Circular 176, if applicable.

       3.     The United States will serve a copy of this Order upon the Clerk or the

Financial Deputy Clerk, along with the aforementioned proceeds, which will remain

deposited into the Registry of the Court until further order of this Court.

       SO ORDERED.

                                              Signed: September 17, 2008




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